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                                  UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF ALASKA

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 8          FRANCIS SCHAEFFER COX,                              CASE NO. CR11-00022RJB

                                    Petitioner,                 ORDER DENYING MOTION FOR
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                                                                WRIT OF AUDITA QUERELA
                    v.                                          PURSUANT TO ALL WRITS
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                                                                ACT, 28 U.S.C. § 1651
            UNITED STATES OF AMERICA
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                                    Respondent.
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             This case comes before the court on the above-referenced motion (Dkt. 704). The court
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     is familiar with the records and files herein, all documents filed in support of and in opposition to
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     the motion, the events of the trial, and is fully advised. For the reasons stated herein, the motion
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     should be denied.
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            After a lengthy trial with two co-defendants, Mr. Cox was convicted by a jury of seven
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     firearm counts, a conspiracy count, and a solicitation count. He was acquitted by the jury of two
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     firearms counts (see Verdict Form, Dkt. 432). He appealed his convictions and the Ninth Circuit
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     Court of Appeals affirmed all convictions with the exception of the charge of Solicitation to
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     Murder Federal Officers. That sole conviction was reversed, and the matter was remanded to the
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     ORDER DENYING MOTION FOR WRIT OF
     AUDITA QUERELA PURSUANT TO ALL WRITS
     ACT, 28 U.S.C. § 1651- 1
              Case 3:11-cr-00022-RJB Document 723 Filed 02/26/19 Page 1 of 4
 1 District Court for resentencing (see Ninth Circuit Memorandum Opinion in Ninth Circuit Cause

 2 Number 13-30000, Dkt. 683).1

 3          Following issuance of the Ninth Circuit’s Memorandum Opinion, Mr. Cox petitioned for

 4 rehearing and for rehearing en banc. Those petitions were denied (Dkt. 687), and on November

 5 15, 2018, the Mandate was issued (Dkt. 688).

 6          The matter has been set for resentencing before the undersigned on May 30, 2019.

 7          Petitioner describes the procedure that would lead to the issuance of a writ of audita

 8 querela as follows:

 9          According to the Ninth Circuit, “the writ of audita querela can only be available where
            there is a legal objection to a conviction which has arisen subsequent to that conviction,
10          and which is not redressable pursuant to another post-conviction remedy.” Doe v INS,
            120 F.3d 200, 204 (9th Cir. 1997) (quoting United States v Holder, 936 F.2d 1, 5 (1st Cir.
11          1991)(emphasis in original).

12          Petitioner alleges further that,

13          Such a legal objection arose in Mr. Cox’s case when the Ninth Circuit vacated Count 16
            of the judgment, solicitation of others to engage in the murder of an officer or employee
14          of the United States, on jurisdictional grounds – specifically, “because the federal ‘hit
            team’ that the security team was supposed to guard against [at the television station
15          KJNP] did not exist.”

16 Dkt. 704 at 1-2 (citing Ninth Circuit’s Memorandum Opinion, Dkt. 683 at 4).

17          Petitioner argues, “That jurisdictional holding, in turn, cracked the foundation of the

18 jury’s verdict on the conspiracy count.” Dkt. 704 at 2.

19          Mr. Cox’s argument fails on a number of grounds: First, the elements of the solicitation

20 count and the conspiracy to murder count are very different. See Court’s Instructions to the Jury,

21 Dkt. 430, Instruction Number 46, re: Conspiracy to Murder Officers and Employees of the

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            Citations to Ninth Circuit documents are to the District Court docket numbers where
24 they can be found.
     ORDER DENYING MOTION FOR WRIT OF
     AUDITA QUERELA PURSUANT TO ALL WRITS
     ACT, 28 U.S.C. § 1651- 2
                Case 3:11-cr-00022-RJB Document 723 Filed 02/26/19 Page 2 of 4
 1 United States, and Instruction Number 52, re: Solicitation to Murder an Officer of the United

 2 States. The grounds for reversal of the solicitation charge did not “crack the foundation of the

 3 jury’s verdict” on the conspiracy count.

 4          Second, the basic argument that the solicitation charge and the conspiracy charge should

 5 have been treated the same way by the Ninth Circuit is undermined by the Ninth Circuit’s

 6 Memorandum Opinion, Dkt. 683, which makes it clear to this court that the Ninth Circuit court

 7 considered the argument Petitioner now makes regarding the actual existence of targets of the

 8 conspiracy and of the solicitation.

 9          Third, the argument that the Ninth Circuit’s opinion gave rise to a new argument for

10 attacking the conspiracy count did not arise after the Petitioner’s final conviction, which

11 occurred with the issuance of the Mandate (Dkt. 688) after the Petitioner had the opportunity to

12 move for rehearing and rehearing en banc, in the Ninth Circuit (Dkt. 687). His conviction was

13 final after that opportunity for rehearing and rehearing en banc, when the Mandate was issued on

14 November 15, 2017 (Dkt. 688).

15          Fourth, the Ninth Circuit, in its Memorandum Opinion (Dkt. 683), carefully considered

16 the sufficiency of the evidence in the case, as well as the jury instructions, and to now grant the

17 Petitioner’s Motion for a Writ of Audita Querela would be to reverse the opinion of the Ninth

18 Circuit. That, a trial judge cannot do.

19          The undersigned respectfully declines to re-examine the evidence in the case and the jury

20 instructions as the pleadings in support of and in opposition to the motion seem to urge. This

21 motion appears to be an attempt to re-litigate the sufficiency of the evidence and the accuracy

22 and sufficiency of the jury instructions, which this court should not do. The Petitioner’s

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     ORDER DENYING MOTION FOR WRIT OF
     AUDITA QUERELA PURSUANT TO ALL WRITS
     ACT, 28 U.S.C. § 1651- 3
              Case 3:11-cr-00022-RJB Document 723 Filed 02/26/19 Page 3 of 4
 1 conviction was finalized with the Mandate of the Ninth Circuit, and no legal objections to that

 2 conviction have arisen after the finalized conviction.

 3         The Motion for Writ of Audita Querela Pursuant to All Writs Act, 28 U.S.C. § 1651

 4 (Dkt. 704) is DENIED.

 5         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 6 to any party appearing pro se at said party’s last known address, and to the Probation Office.

 7         Dated this 26th day of February, 2019.

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                                         ROBERT J. BRYAN
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                                         United States District Judge
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     ORDER DENYING MOTION FOR WRIT OF
     AUDITA QUERELA PURSUANT TO ALL WRITS
     ACT, 28 U.S.C. § 1651- 4
             Case 3:11-cr-00022-RJB Document 723 Filed 02/26/19 Page 4 of 4
